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                    FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

 BETH CHANEY MACNEILL                          §
                                               §
                                               §
                                               §
 VS.                                           §    CIVIL ACTION NO. 4-14CV-242-0
                                               §
 NIRMAL JAYASEELAN, M.D.,                      §
 DOMINGO K. TAN, M.D., CHAD                    §
 CARLTON, M.D., TEXAS HEALTH                   §
 HARRIS METHODIST HOSPITAL                     §
 FORT WORTH, EMERGENCY                         §
 MEDICINE CONSULTANTS LTD,                     §
 BAYLOR ALL SAINTS MEDICAL                     §
 CENTER AT FORT WORTH AND                      §
 EMCARE, INC.                                  §


                  PLAINTIFF’S MOTION TO DISMISS
         DEFENDANT NIRMAL JAYASEELAN, M.D. WITH PREJUDICE

 TO THE HONORABLE COURT:

         COMES NOW, Beth Chaney MacNeill (“Plaintiff”), in the above-styled and

 numbered cause, and file this, her Motion to Dismiss Defendant Nirmal Jayaseelan, M.D.

 with Prejudice, and would respectfully show the Court the following:

                                             I.

         Plaintiff no longer desires to prosecute this lawsuit against Defendant Nirmal

 Jayaseelan, M.D. The Parties and their respective representatives have met to discuss the

 allegations in this suit. In order to avoid further cost, and without admitting or

 determining liability, the parties have agreed to settle all claims. Accordingly, the

 Plaintiff hereby request this Court dismiss Plaintiff’s claims and causes of action against

 Defendant Nirmal S. Jayaseelan, M.D. with prejudice to the right of Plaintiff to re-file

 same.
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        WHEREFORE, PREMISES CONSIDERED, Plaintiff Beth Chaney MacNeill

 respectfully requests that the Court grant this Motion to Dismiss with Prejudice, dismiss

 Plaintiff’s claims and causes of action against Defendant Nirmal S. Jayaseelan, M.D. with

 prejudice to the re-filing of same.

                                              Respectfully submitted,

                                              s/ Robert Hammer____
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                                              COUNSEL FOR PLAINTIFF
                                              Beth Chaney MacNeill




                                 CERTIFICATE OF SERVICE

        I do hereby certify that on April 2, 2015 I electronically filed the foregoing with
 the Clerk for the U.S. District Court, Northern District of Texas, using the ECF system
 which will send notification of such filing to all counsel of record


                                              s/ Robert Hammer_______
                                              Robert W. Hammer
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